JuDiol
§ UE;D l§TIF!R_[§QRCASSFLT#nisrgic?i_\i[ii`o%¥io~
"‘ " l '“ ‘~ -"- = r"=~.»l f": 'APR "` 5 2005
2595 APR 2b l i-`J 11 nn FFLED
" . t , ix CLERK'S OFFICE
al"mé ` x :‘ DOCKETNO. 1657~~"~`-`-"-- l_" ":
~. "."rr;rrr *r'i" ' =

li j
".' FH 11 fill `

APn 21__.1)2005

   

IN RE V10HPR01)UCTSL1A31L1TYL1TIGAT10N § §
(SEEATTA CHED SCHEDULE) § §§

CoNDITIoNAL TRANSFER 0R1)ER(CT0_5) rig __ § :Q
orr February 16, 2005, the Parrei transferred 138 civil actions to the Urriced states Disrric'(:‘"'l--'°;%for 336 §

Eastern District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 282 additional actions have been transferred to the Eastern District of

Louisiana. With the consent ofthat court, all such actions have been assigned to the Honorable Eldon E.
Fallon.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

Pursuant to Rule 7.4 ofthe Rules of Procedure ofthe Judicial Panel on Multidistrict Litigation, 199
F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District
of Louisiana for the reasons stated in the order of February 16, 2005, _F.Supp.Zd“ (J.P.l\/I.L.
2005), and, with the consent ofthat court, assigned to the Honorable Eldon E. Fallon.

'l`his order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastem District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerl<
ofthe Panel within this fifteen (15) day period, the stay will be continued until further order ofthe Panel.

F()R THE PANEL:

l\/Iichael J. Becl<
..._,...,._,..w.m §§|§;k of the Panel

 

 

iii rates oi=FicE
inasmuch as no objection is § ` "" ""
pending at this time, the * A TRUE COP¥
stay is iiited. g

 

 

 

. yarn ___u s
AFH 2 l 2005 M.... ea..._.._

~_~__ P'roeess

m_‘»_._.._.,

 

 

 

 

 

 

 

 

De ut ciark, u.s. oistrict court “)-`- §i"§‘-‘--_IT`___" 6
CLERK-S OFFlCE as arn Dlstrict of Louisiana ""“ `;'m".‘?€p~g§l'-?- 6
JuoiczAL PANEL oN _ N€w Or|eanS, LA “"' i”*?~ ‘\-“’~»~--~"--»~~~~ %\
Mutrioisra¢cr LineArioN DS-' lo § \f

case 1:05-cv-01054-JDT-SWIM@VA@§§BD§§M@§/QQT%QQ 2 Of 4 F’aQ€lD 8

EASTERN DisTRlcT or- LoulscANA
OFFICE oF THE CLERK

LORETTA G. WHYTE 500 PoYDRAs ST., RooM C-151
CLERK NEW ORLEANS, LA 70130

May 2, 2005

Robert DiTroIio, Clerk

United States District Court
Western District of Tennessee
167 N. Main Street, Room 242
Memphis, TN 38103

In Re: MDL 1657 Vioxx Products Liability Litigation Your Case No. C.A. 1:05-1054 Erma
Macklin v. Merck & Co., Inc.
Our Case No. C.A. 05-1581 L (3)

Dear Mr. Di'l`rolio:

Enclosed is a certified copy of a transfer order received from the Multidistrict Litigation Panel
in Washingtori, D.C. lt instructs that the case listed above be transferred to our district for disposition
pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned a new civil action number
to this case as referenced above.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicabie), any amendments, the docket sheet
and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor

COUI’t.

Due to the high volume of cases involved in this litigation please provide paper copies of
the above documents instead of simply referring to your website. Your prompt attention in this
matter is greatly appreciated.

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly you/rs,

Lorettawwk
By

Deputy Clerk

Enelosures

cc: Judicial Panel on Multidistrict Litigation

Case 1:05-cv-01054-.]DT-STA Document 25 Filed 05/10/05 Page 3 of 4 Page|D 9

IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

Robert R. Di Trolio
Clerk of Court

May 11, 2005

United States District Court
Eastern District of Louisiana
Office of the Clerk of Court
500 Poydras St., Room C-l$l
New Orleans, LA 70130

RE: Our Case No. 05-1054 -T/An
Your Case No. 05-1581 L (3)

Dear Clerk:

EASTERN DIVISION

1 1 l South Highland Ave., Room 262
Jackson, Tennessee 38301
731-421-9200
731-421-9210 Fax

Erma G. Macklin vs. Merck & Co., Inc., Et al.,
MDL # 1657 / Vioxx Products Liability Litigation

Pursuant to the Order of Transfer on above referenced ease, please find enclosed a certified copy of the
Notice of Rernoval, Lower Court Cornplaint, Docket Sheet, MDL Transf`er Order, and a copy of the transfer
letter to the transferor court. Thank you for your attention in this matter.

Robert R. Di Trolio, Clerk
f / ‘
BY: i_"__,, MLL/

Deputy Clerk

ENCLOSURES

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 25 in
case 1:05-CV-01054 Was distributed by faX, mail, or direct printing on
May 11, 2005 to the parties listed.

sssEE

 

Lavvrence W. White

LEITNER WILLIAMS DOOLEY & NAPOLITAN

254 Court Ave.
Second Floor
1\/lemphis7 TN 38103

R. Scott Vincent

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis

254 Court Ave.
Second Floor
1\/lemphis7 TN 38103

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson7 TN 38303--353

.1 ames M. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Honorable .1 ames Todd
US DISTRICT COURT

